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                       EXHIBIT “1”
    Case 1:19-cv-00040-C Document 1-2CV32140
                                        Filed 03/25/19                      Page 2 of Filed:
                                                                                      20 2/14/2018
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                                                                                                      13PM
                                      Stephens County - District Clerk                Christie Coapland
                                                                                      District Clerk
                                                                                      Stephens County, Texas
                                                                                       Rhonda Peacock

                                  CAUSE NO. CV32140

ROBERT WALTERS,                                                          IN THE DISTRICT COURT OF

        Plaintiff,

V.                                                                       STEPHENS COUNTY, TEXAS

FORD MOTOR COMPANY and
PATTERSON TOYOTA OF
LONGVIEW INC.,

        Defendants.
                                                                          90TH JUDICIAL DISTRICT

                            PLAINTIFF'S ORIGINAL PETITION

        COMES NOW, ROBERT WALTERS, Plaintiff herein, complaining of FORD MOTOR

COMPANY, a foreign corporation doing business in Texas and PATTERSON TOYOTA OF

LONGVIEW, INC. a Texas corporation, Defendants, herein, and for cause of action say:

                                                    I.

                                   DISCOVERY CONTROL PLAN

        1.     Plaintiffs intend to conduct discovery under LEVEL TWO (2) of Rule 190 of the

Texas Rules of Civil Procedure.

                                                    H.

                                               PARTIES

        2.     The Plaintiff in this case is ROBERT WALTERS (hereinafter also referred to as

"Plaintiff'). At all times material hereto Plaintiff was a resident of Stephens County, Texas.

        3.     Defendant FORD MOTOR COMPANY, (hereinafter also referred to as "Ford"),

is, and at all times material hereto was, a foreign corporation doing business in the State of Texas

and may be served through its registered agent for service of process at CT Corp. System, 1999

Bryan Street, Suite 900, Dallas, Texas 75201.
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        4.      Defendant, PATTERSON TOYOTA OF LONGVIEW, INC. (hereinafter also

referred to as "the Patterson Toyota") is, and at all times material hereto was, a Texas

corporation organized under the laws of the State of Texas and was conducting a business

enterprise under the name Patterson Toyota, and may be served through its registered agent for

service, William R. Patterson, 1201 McCann Road, Longview, Texas 75601. Patterson Toyota's

principal office and principal place of business is located in Gregg County, Texas.



                                     JURISDICTION AND VENUE

        5.      This Court has jurisdiction over Defendants because at all times material hereto

Defendants conducted business in Texas and maintained sufficient minimum contacts with the

State of Texas such that the exercise of jurisdiction over such defendants would not offend

traditional notions of fair play and substantial justice.

        6.      This Court also has jurisdiction over this cause of action because the amount in

controversy, exclusive of interest and costs, exceeds the jurisdictional thresholds of this Court.

        7.      Venue of this cause of action is proper in Stephens County, Texas, pursuant to

TEX. CIV. PRAC. & REM. CODE § 15.002(a)(1) because all or a substantial part of the events or

omissions giving rise to the claim occurred in Stephens County, Texas.

                                                  IV.

                                       STATEMENT OF FACTS

        8.     On or about February 15, 2016, Robert Walters, Plaintiff, sustained damages

when a defective and unreasonably dangerous 2015 Ford F-150 Crew Cab XLT (VIN:

1FTEW1EF4FFA10219) (hereinafter also referred to as "the vehicle") erupted into flames and

ignited a blaze that destroyed his carport, his contents, a storage building, and two other vehicles.
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        9.     Plaintiff parked the 2015 Ford F-150 in the carport of his home located at 2502

U.S. Hwy. 183 South, Breckenridge, Texas 76424.

        10.    The vehicle remained parked with the ignition in the "OFF" position until the fire

occurred.

        11.    During the afternoon of February 15, 2016, while the vehicle was parked in the

carport and with the ignition in the "OFF" position, the vehicle erupted into flames.

        12.    Plaintiff saw the fire in the driver side of the vehicle's engine compartment.

Helpless, Plaintiff was forced to watch his home perish in flames caused by the 2015 Ford F-150.

        13.    The fire investigators place the cause and origin of the fire in the 2015 Ford F-150

parked in the carport.

        14.    Defendant Ford designed, manufactured and marketed the 2015 Ford F-150,

which was in substantially the same condition as when it left the possession of Ford.

       , 15.   Defendant Patterson Toyota advertised and sold the 2015 Ford F-150 to the

Plaintiff, which was in substantially the same condition as when it left the possession of

Patterson Toyota.

                                                  V.

                          COUNT ONE - STRICT LIABILITY AS TO FORD

        16.    Plaintiff hereby adopts, restates and re-alleges each and every paragraph of this

Petition as if fully and completely set forth herein.

        17.    Ford is and was at the time of the occurrence in question engaged in the business

of designing, manufacturing and marketing vehicles to the general public, including the 2015

Ford F-150 sold to Plaintiffs. Plaintiff, therefore, invokes the doctrine of strict liability as

enunciated in § 402A of the Restatement (Second) of Torts and by the Supreme Court of Texas.
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       18.     Ford has a duty and had a duty at the time of manufacture of the 2015 Ford F-150

in question to design, manufacture and market vehicles in a responsible and safe way so as not to

cause injury or damage to Plaintiff or members of the general public.

       19.     By designing, manufacturing and marketing a vehicle such as the 2015 Ford F-

150 at issue here, Ford furnished to Plaintiff a product which was and is unreasonably dangerous

to consumers and to Plaintiff in particular. The vehicle was defective in that it spontaneously,

unexpectedly ignited. Specifically, Ford is strictly liable in the following regards:

       a.      The design and manufacture of the 2015 Ford F-150 was such that it had a
               dangerous propensity to ignite;

       b.      The 2015 Ford F-150 was placed on the market without adequate warning to its
               users, ultimate users and consumers thereof, of the propensities of the 2015 Ford
               F-150 for igniting;

       c.      The 2015 Ford F-150 was placed on the market without adequate warnings to
               consumers and Plaintiffs in particular, of the tendency of the vehicle to ignite;

       d.      The standard of care in the design, development and manufacture of the 2015
               Ford F-150 which a reasonable prudent manufacturer of the same or similar motor
               vehicles would have used, under the same or similar circumstances, was not used
               by Ford;

       e.      The testing utilized by Ford to test the 2015 Ford F-150 was inadequate;

       f.      The 2015 Ford F-150 was negligently and improperly designed and
               manufactured, when Ford knew or should have known that the vehicle was unsafe
               and would cause irreparable harm and unreasonable risk of harm to Plaintiffs; and

       g.      The vehicle was improperly and inadequately tested and inspected by Ford.


       20.     Plaintiff alleges that the 2015 Ford F-150 in question was defective and unsafe for

its intended purpose at the time the vehicle left Ford and at the time the Plaintiff purchased the

vehicle in question. The 2015 Ford F-150 was defective because it was unreasonably dangerous,

in that, it suddenly and unexpectedly ignited.
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       21.     The design, manufacture and marketing of the defective 2015 Ford F-150 was a

proximate and/or producing cause of all injuries suffered by Plaintiff as hereinafter more

particularly alleged.

                                                 VI.

                             COUNT Two — NEGLIGENCE AS TO FORD

       22.     Plaintiff hereby adopts, restates and re-alleges each and every paragraph of this

Petition as if fully and completely set forth herein.

       23.     Ford had a duty to design, manufacture and market a vehicle that was safe for use

as a passenger vehicle. In its design, manufacture and marketing of the 2015 Ford F-150, Ford

breached these duties. Specifically, Ford was negligent in the following regards:

       a.      The design and manufacture of the 2015 Ford F-150 was such that it had a
               dangerous propensity to ignite;

       b.      The 2015 Ford F-150 was placed on the market without adequate warning to its
               users, ultimate users and consumers thereof of the propensities of the 2015 Ford
               F-150 for igniting;

       c.      The 2015 Ford F-150 was placed on the market without adequate warnings to
               consumers and Plaintiffs in particular of the tendency of the vehicle to ignite;

       d.      The standard of care in the design, development and manufacture of the 2015
               Ford F-150 which a reasonable prudent manufacturer of the same or similar motor
               vehicles would have used, under the same or similar circumstances, was not used
               by Ford;

       e.      The testing utilized by Ford to test the 2015 Ford F-150 was inadequate;

       f.      The 2015 Ford F-150 was negligently and improperly designed and
               manufactured, when Ford knew or should have known that the vehicle was unsafe
               and would cause irreparable harm and unreasonable risk of harm to Plaintiffs; and

       g.      The vehicle was improperly and inadequately tested and inspected by Ford.
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       24.     The negligence of Ford was a proximate and/or producing cause of all injuries

suffered by Plaintiff as hereinafter more particularly alleged. "

                                                 VII.

    COUNT THREE - BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY AS TO FORD

       25.     Plaintiff hereby adopts, restates and re-alleges each and every paragraph of this

Petition as if fully and completely set forth herein.

       26.     Defendant Ford breached the implied warranty of merchantability by designing,

testing, manufacturing, marketing, selling and/or distributing an automobile that could not be

used for its intended, ordinary purpose.

       27.     Under section 2.314 of the Texas Business and Commerce Code, a warranty that

the goods shall be merchantable is implied in the contract for their sale, which means the vehicle

in question was required to be fit for the ordinary purpose for which it was to be used. The

vehicle in question was unfit for its ordinary purpose because it was constructed in such a way

that made it unreasonably dangerous.

       28.     An ordinary purpose of an automobile is to be driven without risk that it will

spontaneously ignite, exposing the occupants or those within vicinity of the fire as it spreads, to

great risk of personal injury and/or property damage,. besides rendering the automobile itself

inoperable. Persons should be able to reasonably expect that an automobile turned off and parked

safely in a garage or such similar area would not be a fire hazard posing a risk to life and

property.

        29.    Defendant Ford is the manufacturer of the vehicle in question.
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       30.     At the time the vehicle in question left Defendant Ford's possession, the vehicle

in question was not fit for these ordinary purposes because it was constructed in such a way that

made it unreasonably dangerous.

       31.     The foregoing acts and/or omissions of Defendant Ford were a producing and/or

proximate cause of the Plaintiffs' damages.
                                                                                                   'NY




       32.     Plaintiff notified Defendant Ford of the breach of this warranty.

                                                VIII.

          COUNT FOUR - DECEPTIVE TRADE PRACTICES ACT ("DTPA") AS TO FORD

       33.     Plaintiff hereby adopts, restates and re-alleges each and every paragraph of this

Petition as if fully and completely set forth herein.

       34.     The Plaintiffs are consumers of the vehicle in question.

       35.     Defendant Ford is a proper party under the DTPA.

       36.     Defendant Ford has continuously represented to the public via advertising and

marketing that its automobiles were safe.

       37.     Plaintiff relied on this marketing campaign in their purchase and/or use of the

vehicle in question.

       38.     Defendant Ford knew that the 2015 Ford F-150 was defective and could catch

fire, burn surrounding automobiles, surrounding structures, and harm people.

       39.     If Plaintiff knew about the defective nature of the 2015 Ford F-150, he would not

have purchased the vehicle in question.

       40.     Defendant Ford's actions and/or inactions resulted in a violation of the DTPA.

TEX. BUS. & COM. CODE §17.41.      These violations include, but are not necessarily limited to:
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               a.     representing that goods or services are of a particular standard, quality, or
                      grade, or that goods are of a particular style or model, if they are of
                      another. TEX. BUS. & COM. CODE §17.46(b)(7);

               b.     advertising goods or services with intent not to sell them as advertised.
                      TEX. Bus. & COM. CODE §17.46(b)(9);

               c.     Breach of implied and/or express warranty. TEX. BUS. & COM. CODE
                      §17.50(a)(2); and

               d.     Failing to disclose information concerning goods which was known at the
                      time of the transaction with the intent to induce the consumer into a
                      transaction into which the consumer Would not have entered had the
                      information been disclosed. TEx. Bus. & COM. CODE §17.50(b)(24).

       41.     Breach of Warranty — Defendant Ford breached the implied warranty of

merchantability, among others.

       42.     Producing Cause - The foregoing conduct was a producing cause of Plaintiff's

injuries and damages, more particularly set forth below.

       43.     Knowing Conduct - Defendant Ford engaged in the foregoing conduct knowingly:


              a.      Defendant Ford was actually aware, at the time of the above conduct, of
                      the falsity, deception, or unfairness of such conduct. TEX. BUS. & COM.
                      CODE § 17.45(9); and

               b.     Defendant Ford was actually aware of the act, practice, condition, defect,
                      or failure constituting the breach of warranty. TEX. Bus. 8c COM. CoDE §
                      17.45(9).

       44.     Producing Cause - The foregoing conduct was a producing cause of Plaintiff's

injuries and damages, more particularly set forth below.

       45.     Intentionally — Plaintiff claims Defendant Ford Motor Company engaged in the

foregoing conduct intentionally.

               a.     Defendant Ford was actually aware of the act, practice, condition, defect,
                      or failure constituting the breach of warranty. TEX. Bus. & COM. CODE §
                      17.45(9);
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               b.      Defendant Ford was actually aware of the falsity, deception, or unfairness
                       of the above conduct, or the condition, defect, or failure constituting a
                       breach of warranty, and specifically intended that each Plaintiff act in
                       detrimental reliance on the falsity or deception or in detrimental ignorance
                       of the unfairness. TEX. BUS. & COM. CODE § 17.45(13);

               c.      Defendant Ford acted with flagrant disregard of prudent and fair business
                       practices to the extent that the defendant should be treated as having acted
                       intentionally. TEX. BUS. & COM. CODE § 17.45(13);

               d.      Defendant Ford acted knowingly in that it was actually aware, at the time
                       of the above conduct, of the falsity, deception, or unfairness of such
                       conduct. TEX. BUS. & COM. CODE § 17.45(9); and

               e.      Defendant Ford acted knowingly in that it was actually aware of the act,
                       practice, condition, defect, or failure constituting the breach of warranty.
                       TEX. Bus. & COM. CODE § 17.45(9).

       46.     Application to Claims for Bodily Injuty or Mental Anguish - The DTPA applies to

claims for mental anguish to the extent set forth in Section 17.50(b) and (h). TEX. BUS. & COM.

CODE § 17.49(e).

       47.     Section 17.50(b) of the Texas Business and Commerce Code provides, in

pertinent part, as follows:


               In a suit filed under this section, each consumer who prevails may obtain:

                       (1) the amount of economic damages .found by the trier of fact. If the trier
                       of fact finds that the conduct of the defendant was committed knowingly,
                       the consumer may also recover damages for mental anguish, as found by
                       the trier of fact, and the trier of fact may award not more than three times
                       the amount of economic damages; or if the trier of fact :finds the conduct
                       was committed intentionally, the consumer may recover damages for
                       mental anguish; as found by the trier, of fact, and the trier of fact may
                       award not more than three times the amount of damages for mental
                       anguish and economic damages." TEX. BUS. & COM. CODE § 17.50(b).

       48.     Thus, Plaintiff may recover:

               a.      economic damages;
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               b.      damages for mental anguish and three times the amount of economic
                       damages if Defendant Ford acted knowingly; and

               c.      damages for mental anguish and three times the amount of economic
                       damages, and three times the amount of damages for mental anguish if
                       Defendant Ford acted intentionally. TEX. BUS. & COM. CODE § 17.50(b).

       49.     Section 17.45(11) of the Texas Business and Commerce Code defines economic

damages as follows:

                       "Economic damages" means compensatory damages for pecuniary loss,
                       including costs of repair and replacement. The term does not include
                       exemplary damages or damages for physical pain and mental anguish, loss
                       of consortium, disfigurement, physical impairment, or loss of
                       companionship and society. TEX. BUS. & COM. CODE § 17.45(11). .

       50.     Thus, Plaintiff may recover for his pecuniary loss. Pecuniary loss includes money

and everything that can be valued in money. Kneip v. Unitedbank-Victoria, 734 S.W.2d 130, 134

(Tex. App.—Corpus Christi 1987, no writ).

       51.     Under Section 17.50(b), Plaintiff can also recover for mental anguish damages as

well as discretionary additional damages, if Defendant Ford engaged in the complained of

conduct either knowingly or intentionally.

       52.     Under the Texas Deceptive Trade Practices Act, Defendant Ford Motor Company,

as a result of its knowing or intentional breach of the above provisions of the Texas Deceptive

Practices — Consumer Protection Act, is liable for actual and treble damages, and mental anguish

suffered by the Plaintiff, and reasonable attorneys' fees.

       53.     The foregoing acts and/or omissions of Defendant Ford were a producing and/or

proximate cause of the Plaintiff's damages.
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                                                    IX.

                       COUNT FIVE - NEGLIGENT MISREPRESENTATION AS TO FORD

       54.        Plaintiff hereby adopts, restates and re-alleges each and every paragraph of this

Petition as if fully and completely set forth herein.

       55.        Defendant Ford made the following misrepresentations in the course of its

business, in a transaction in which it had a pecuniary interest in both:

                  a.       Representing the vehicle in question as being safe at the same time Ford
                           knew the vehicle in question was defective in that it was subject to sudden
                           ignition and catastrophic resulting fires;

                  b.       Representing the vehicle in question as being safe at the same time Ford
                           intentionally concealed from and/or failed to disclose to Plaintiffs and all
                           others in the chain of distribution the true nature of the dangerous fire
                           prone 2015 Ford F-150;

                  c.       Representing "Quality is Job #1" at Ford when it is not;

                  d.       Representing the vehicle in question as being "Built Ford Tough" when it
                           is dangerous and causes fires; and

                  e.       Representing the vehicle in question as being safe when it is not.

       56.        Defendant Ford supplied the above false information for the guidance of others in

their business.

       57.        Defendant Ford failed to exercise reasonable care or competence in obtaining or

communicating the above information.

       58.        Plaintiff suffered pecuniary loss by justifiably relying on the above information.

                                                    X.
                       COUNT SIX - STRICT LIABILITY AS TO PATTERSON TOYOTA

       59.        Plaintiff hereby adopts, restates and re-alleges each and every paragraph of this

Petition as if fully and completely set forth herein.
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       60.     Patterson Toyota is and was at the time of the occurrence in question engaged in

the business of marketing and selling vehicles to the general public, including the 2015 Ford F-

150 sold to Plaintiff. Plaintiff, therefore invokes the doctrine of strict liability as enunciated in §

402A of the Restatement (Second) of Torts, and by the Supreme Court of Texas.

       61.     Patterson Toyota has a duty and had a duty at the time of the sale of the 2015 Ford

F-150 in question to market vehicles in a responsible and safe way so as not to cause injury or

damage to the Plaintiff or members of the general public.

       62.     By marketing and conveying a defective vehicle, such as the 2015 Ford F-150 at

issue here, Patterson Toyota furnished to Plaintiffs a product which was and is unreasonably

dangerous to consumers and to Plaintiffs in particular. The vehicle was defective in that it

spontaneously, unexpectedly ignited. Specifically, Patterson Toyota is strictly liable in the

following regards:

       a.      Marketing, aslvertising and conveying a 2015 Ford F-150 which had a dangerous
               propensity to ignite;

       b.      Placing the 2015 Ford F-150 on the market without adequate warning to its users,
               ultimate users and consumers thereof of the propensities of the 2015 Ford F-150
               for igniting;

       c.       The standard of care in marketing, advertising and conveying the 2015 Ford F-
                150 which a reasonable prudent manufacturer of the same or similar motor
                vehicles would have used, under the same or similar circumstances, was not used
              . by Patterson Toyota;


       d.      Negligently and improperly marketing, advertising and conveying the 2015 Ford
               F-150 when Patterson Toyota knew or should have known that the vehicle was
               unsafe • and would .cause irreparable harm and unreasonable risk of harm to
               Plaintiffs.

       63.     Plaintiff alleges that the 2015 Ford F-150 in question was defective and unsafe for

its intended purpose at the time the vehicle left Patterson Toyota and at the time the Plaintiffs
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purchased the vehicle in question. The 2015 Ford F-150 was defective because it was

unreasonably dangerous, in that, it suddenly and unexpectedly ignited.

        64.     The design, manufacture and marketing of the defective 2015 Ford F-150 was a

proximate and/or producing cause of all injuries suffered by Plaintiff as hereinafter more

particularly alleged.

                                                 XI.

                    COUNT SEVEN - NEGLIGENCE AS TO PATTERSON TOYOTA

       65.      Plaintiff hereby adopts, restates and re-alleges each and every paragraph of this

Petition as if fully and completely set forth herein.

       66.      Patterson Toyota had a duty to market, advertise and convey a vehicle that was

safe for use as a passenger vehicle. In its marketing, advertising and conveyance of the 2015

Ford F-150, Patterson Toyota breached these duties. Specifically, Patterson Toyota was

negligent in the following regards:

       a.       Marketing, advertising and conveying a 2015 Ford F-150 which had a dangerous
                propensity to ignite;

       b.       Placing the 2015 Ford F-150 on the market without adequate warning to its users,
                ultimate users and consumers thereof of the propensities of the 2015 Ford F-150
                for igniting;

       c.       The standard of care in marketing, advertising and conveying the 2015 Ford F-
                150 which a reasonable prudent manufacturer of the same or similar motor
              • vehicles would have used, under the same or similar circumstances, was not used
                by Patterson Toyota;

       d.       Negligently and improperly marketing, advertising and conveying the 2015 Ford
                F-150 when Patterson Toyota knew or should have known that the vehicle was
                unsafe and would cause irreparable harm and unreasonable risk of harm to
                Plaintiffs.
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        67.     The negligence of Patterson Toyota was a proximate and/or producing cause of all

injuries suffered by Plaintiff as hereinafter more particularly alleged.

                                                 XII.

        COUNT EIGHT - NEGLIGENT MISREPRESENTATION AS TO PATTERSON TOYOTA

        68.     Plaintiff hereby adopts, restates and re-alleges each and every paragraph of this

Petition as if fully and completely set forth herein.

        69.     Defendant Patterson Toyota made the following misrepresentations in the course

of its business, in a transaction in which it had a pecuniary interest in both:

                a.      Representing the vehicle in question as being safe at the same time
                        Patterson Toyota Motors knew the vehicle in question was defective in
                        that it was subject to sudden ignition and catastrophic resulting fires;

                b.      Representing the vehicle in question as being safe at the same time
                        Patterson Toyota intentionally concealed from and/or failed to disclose to
                        Plaintiffs and all others in the chain of distribution the true nature of the
                        dangerous fire prone 2015 Ford F-150;

                c.      Representing "Quality is Job #1" at Ford when it is not;

                d.      Representing the vehicle in question as being "Built Ford Tough" when it
                        is dangerous and causes fires; and

                e.      Representing the vehicle in question as being safe when it is not.

        70.    Defendant Patterson Toyota supplied the above false information for the guidance

of others in their business.

        71.    Defendant Patterson Toyota failed to exercise reasonable care or competence in

obtaining or communicating the above information.

       72.      Plaintiff suffered pecuniary loss by justifiably relying on the above information.
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                                                XIII.

                                        RES IPSA LOQUITUR

        73.     Plaintiff hereby adopts, restates and re-alleges each and every paragraph of this

Petition as if fully and completely set forth herein.

        74.    Plaintiff cannot more specifically allege the acts of negligence on the part of

Defendant Ford, for the reason that the facts in that regard are particularly within the knowledge

of Defendant Ford, and, in the alternative, in the event Plaintiff is unable to prove specific acts of

negligent manufacture or design, Plaintiff relies on the doctrine, of res ipso loquitur.

        75.    In this connection, Plaintiff will show that the manufacture and design of the 2015

Ford F-150 was within the exclusive control of Defendant Ford. Plaintiffs have no means of

ascertaining the method or manner in which the 2015 Ford F-150 was manufactured and

designed, and it came into Plaintiff's possession in the same condition as it was in when it left

the control of Defendant Ford. The occurrence causing harm to Plaintiff, as described abOve, was

one which in the ordinary course of events, would not have occurred without negligence on the

part of Defendant Ford. Thus, Defendant Ford was negligent in the manufacture, design, or both,

of the 2015 Ford F-150, which negligence was a proximate cause of Plaintiff's damages more

particularly set forth below.

                                                XIV.

                                PRODUCING AND PROXIMATE CAUSE


       76.     Each and every one of the foregoing acts and omissions of FORD MOTOR

COMPANY and PATTERSON TOYOTA, respectively, as herein above particularly set forth in

this Petition, and each of said counts, taken singularly or in any combination, constitute a direct,
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producing and proximate cause of the injuries and damages suffered and sustained by Plaintiffs

as hereinafter more particularly alleged.

                                                 XV.

                                EXEMPLARY DAMAGES AS TO FORD

       77.     Plaintiff hereby adopts, restates and re-alleges each and every paragraph of this

Petition as if fully and completely set forth herein.

       78.     As a basis for imposition of punitive damages on Defendant Ford, Plaintiffs say:

       79.     Plaintiffs intend to prove by clear and convincing evidence that their injuries and

damages, more particularly set forth above, resulted from gross negligence.

       80.     The conduct of Defendant Ford when viewed objectively from the standpoint of

Defendant Ford at the time of its occurrence involved an extreme degree of risk, considering the

probability and magnitude of the potential harm to others.

       81.     Defendant Ford had actual subjective awareness of the risks involved, but

nevertheless proceeded with conscious indifference to the rights, safety or welfare of others.

       82.     The acts, omissions, or both, of Defendant Ford constituted gross negligence and

created a high probability of serious injury or loss of property.

       83.     Defendant Ford knew the vehicle in question was defective in that it is subject to

sudden ignition and catastrophic resulting fires.

       84.     Defendant Ford intentionally concealed from and/or failed to disclose to Plaintiffs

and all others in the chain of distribution, the true nature of the dangerous 2015 Ford F-150.

       85.     Defendant Ford has a history and habit of blaming their suppliers instead of fixing

the problem and/or defect at issue.
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         86.     Defendant Ford knew of the above risks, but nevertheless proceeded with

 conscious indifference to the rights, safety or welfare of consumers in general, and Plaintiff

 specifically.

         87.     The above and foregoing acts and/or omissions of Defendant Ford, resulting in •

• the damages to Plaintiff, has caused actual damages to Plaintiff in an amount in excess of the

 minimum jurisdictional limits of this Court.

                                                 XVI.

                                     COMPENSATORY DAMAGES

         88.     Plaintiff hereby adopts, restates and re-alleges each and every paragraph of this

 Petition as if fully and completely set forth herein.

         89.     Plaintiff would show that his damages, injuries and/or losses are within the

 jurisdictional limits of this Court, property damages, structure damage, content damage, mental

 anguish, costs to repair or replace his property, and any other consequential damages foreseeably

 arising from the incident in question.

         90.     While the ultimate decision regarding the Plaintiff's damages is a matter that is

 solely within the sound discretion of the men and women of the jury that will be called upon to

 render justice in this case, due Texas Rules of Civil Procedure 47, Plaintiff is required to plead

 the maximum amount Plaintiff would seek at trial in this pleading, despite the fact that Plaintiff's

 injuries are ongoing. It is not in any way the intention of Plaintiff to invade the province of the

 jury in any manner, including with regard to the determination of damages. When this case is

 ultimately tried to a jury. At this time, the maximum amount of damages sought by Plaintiff is a

 judgment not to exceed $1,000,000.00 joint and 'severally against the Defendants.
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                                               XVH.

                 CLAIM FOR PRE-JUDGMENT AND POST-JUDGMENT INTEREST

       91.     Plaintiff claims interest in accordance with Article 5069-1.05 V.A.T.S., TEXAS

FINANCE CODE § 304.104, TEXAS FINANCE CODE § 304.105, and any other applicable law.

                                              XVIII.

                                    DEMAND FOR JURY TRIAL

       92.     Plaintiff hereby requests a trial by jury and have tendered the required fee.

                                               XIX.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that Defendants

be cited to appear and answer herein, and that upon trial, Plaintiff has and recover the following:

       1.      Judgment against Defendants for compensatory damages in excess of the
               minimum jurisdictional limits of the Court;

       2.      Judgment for punitive damages in excess of the minimum jurisdictional limits of .
               the Court;

       3.      Pre-judgment interest in accordance with Texas law;

       4.      Post-judgment interest in accordance with Texas law;

       5.      Reasonable and necessary attorneys' fees;

       6.      Discretionary and additional treble damages pursuant to the Texas Deceptive
               Trade Practices Act;

       7.      Costs of suit; and
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    8.    Such other and further relief as this Court may deem proper and just.


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